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                      Exh. B
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                        IN THE UNITED STATES DISTRICT COURT                                              Style Definition: Comment Text
                             FOR THE DISTRICT OF MAINE
                             Civil Action No. 1:20-cv-00295-JDL

ROBERT J. RUFFNER,                                                                                       Deleted: JEREMY PRATT, ¶
JACK TEBBETTS,
STEVEN BELLEAU, and
MATTHEW PERRY
on their own behalf and
on behalf of all others similarly situated,

        Plaintiffs,
v.

SECURUS TECHNOLOGIES, INC.,

        Defendant.


                      SECOND AMENDED CLASS ACTION COMPLAINT                                              Deleted: FIRST



        Plaintiffs Robert Ruffner, Jack Tebbetts, Steven Belleau and Matthew Perry, by and               Deleted: Jeremy Pratt,


through their undersigned counsel, file this Second Amended Class Action Complaint for damages           Deleted: First


and injunctive relief against the above-listed Defendant Securus Technologies, Inc. (“Securus”)
                                                                                                         Moved down [1]: <#> v.
                                                                                                         Deleted: <#>The Supreme Court ruled in Upjohn Co.
                                  STATEMENT OF THE CASE
                                                                                                         Formatted: Font: Italic, No underline, Font color: Black
        1.      Defendant Securus, under contract with county jails in Maine, intentionally              Deleted: <#>United States (1981) that “[t]he attorney-client
                                                                                                         privilege is the oldest of the privileges for confidential
                                                                                                         communications known to the common law. Its purpose is to
intercepted, recorded and distributed phone calls between inmates and their attorneys without            encourage full and frank communication between attorneys
                                                                                                         and their clients, and thereby promote broader public
                                                                                                         interests in the observance of law and administration of
consent. The intentional recording of calls without consent violates the federal and state wiretap       justice. The privilege recognizes that sound legal advice or
                                                                                                         advocacy serves public ends and that such advice or
acts. Many of these calls included confidential information protected by the attorney-client             advocacy depends upon the lawyer's being fully informed by
                                                                                                         the client.”¶

privilege because the inmates were seeking and receiving legal advice. Defendant Securus was             Formatted: Font color: Black
                                                                                                         Formatted: Font color: Black
aware or was willfully blind to the fact that it operated a system in Maine that intercepted, recorded   Deleted: <#> and
                                                                                                         Formatted: Font color: Black
and distributed calls between inmates and their attorneys wherein inmates sought and/or received         Formatted: Font color: Black
                                                                                                         Formatted: Font color: Black
legal advice. This intent is shown by the fact that over 800 attorney-client calls to and from Maine
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                                                                                                         Deleted: <#>, violating

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facilities were eventually uncovered, the fact that Securus has a pattern of similar illegally recorded

calls in multiple other jurisdictions for many years, and the fact that despite this, Securus avoided     Deleted: <#>sanctity
                                                                                                          Formatted: Font color: Black
taking any steps to protect confidential calls, instead leaving it to the jails to screen out certain

numbers.

       2.      The number of calls between attorneys and clients that were recorded and                   Formatted: Normal (Web), Font Alignment: Baseline,
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                                                                                                          border), Right: (No border), Between : (No border)
eventually uncovered shows that even if a system was in place to screen attorney-client calls, it
                                                                                                          Formatted: Font color: Black
                                                                                                          Deleted: the Attorney-Client privilege.
did not in fact screen out many attorney-client calls. The fact that over 800 calls were uncovered

to date shows that this was not a one-time mistake, but a systemic failure that Securus intentionally

ignored.

       3.      Securus faced similar problems in many jurisdictions resulting in litigation and still

did not take proactive steps to stop the problem. See Austin Lawyers Guild, et al. v. Securus             Moved (insertion) [1]
                                                                                                          Formatted: Font: Italic, No underline, Font color: Black
Technologies, Inc., et al., No. 1:14-cv-366 (W.D. Tex.,) – filed April 29, 2014; Romeo v. Securus

Technologies, Inc., No. 3:16-cv-1283 (S.D. Cal.) – filed May 27, 2016; Crane v. Corrections

Corporation of America, No. 4:16-cv-947 (W.D. Mo.) – filed August 31, 2016; Huff, et al. v.

Corecivic, Inc., et al, No. 2:17-cv-2320 (D. Kan.) – filed June 1, 2017.

       4.      To the extent that Securus had a screening system to protect confidential calls,

Securus deliberately left that system to be implemented by the jails, despite knowing that many

jails had not successfully screened out confidential calls in the past and that the jails had little

incentive to ensure the appropriate calls were in fact screened.

       5.      Further, upon information and belief, Defendant Securus was aware that the system

it operated in Maine would continue intercepting, recording and distributing calls between inmates

and their attorneys wherein inmates sought and/or received legal advice. Despite this knowledge,

Defendant Securus took no proactive steps to protect the privacy rights of the attorneys and/or



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inmates whose interests were at risk. Instead, Securus intentionally recorded each of the calls that

were actually captured with disregard for what those calls might have contained.

       6.      These attorney-client protected recorded calls between an inmate and their attorney

have often been turned over to the office of the Maine Attorney General and, upon information

and belief, local District Attorneys responsible for criminal proceedings involving the inmate.

       7.      Maine State and Federal laws prohibit the recording of calls protected by the           Deleted: The


attorney-client privilege.

       8.      Securus’ illegal interception and recording of calls protected by the attorney-client

privilege therefore violates Maine and Federal recording and wiretapping laws.

                             PARTIES, JURISDICTION, AND VENUE

       9.      Plaintiff Robert J. Ruffner is a resident of Cumberland county, Maine.                  Deleted: <#>Plaintiff Jeremy Pratt is a resident of Knox
                                                                                                       county, Maine.¶
       10.     Plaintiff John W. Tebbetts is a resident of Aroostook county, Maine.

       11.     Plaintiff Steven Belleau is a resident of Aroostook county, Maine.

       12.     Plaintiff Matthew Perry is an individual who resides in Knox county, Maine, and is

presently held in the Maine State Prison.

       13.     Defendant Securus Technologies, Inc. is a corporation headquartered in Texas that       Deleted: ,
                                                                                                       Deleted: ,
does substantial business in Maine.

       14.     Jurisdiction is conferred upon this Court by 28 U.S.C. § 1331, this case arising

under the laws of the United States. This action arises under the Federal Wiretapping Laws, Federal

Wiretap Act, 18 U.S.C. § 2510 et seq.

       15.     Plaintiffs request that this Court exercise supplemental jurisdiction over their

claims under the laws of Maine, pursuant to 28 U.S.C. § 1367.




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       16.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2), because all the events and

omissions giving rise to the claims of the named Plaintiffs occurred in the District of Maine, and

the Defendant conducts substantial business in the state of Maine.

                FACTUAL ALLEGATIONS RELEVANT TO ALL CLAIMS

Securus Intercepts and Records Conversations Protected by the Attorney-Client Privilege.

       17.     Securus contracts with prisons and jails across the nation, including facilities in

Maine, to provide telephone and video conferencing services for detainees.

       18.     Securus has been sued in several jurisdictions across the country for violating the

Federal Wiretap Act and other similar laws by intercepting, recording and/or distributing calls the

Federal Wiretap Act prohibits.

       19.     Accordingly, Securus was aware well prior to the events giving rise to this action

that the system it uses routinely intercepts calls that the Wiretap Acts prohibits it from recording,

including calls protected by the attorney-client privilege.

       20.     Securus purportedly exempts certain calls from its program of intercepting,

recording and distributing all inmates’ calls. To do so, Securus requires attorneys and inmates to

jump through a series of hoops to avoid having their calls recorded.

       21.     However, the sheer number of recorded attorney-client calls and lawsuits showing

that Securus’ system has recorded attorney-client privileged calls in violation of the Federal

Wiretap Act demonstrates that Securus’ procedures for exempting calls are either: (i) inadequately

explained to the parties that needed to complete them; or (ii) ineffective even when satisfied.

       22.     Regardless of the cause, be it one of implementation or technology, it is clear that

Securus was either aware of the fact that its system repeatedly failed and recorded communications

in violation of the Wiretap Act, or was willfully blind to that fact.



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         23.   Here in Maine, Securus entered into contracts with Maine jails to provide

telecommunication services for inmates.

         24.   Pursuant to these contracts, Securus intentionally intercepts, records and distributes    Deleted: recorded


all inmates’ calls, with some purported exceptions described above.

         25.   Further, despite Securus’ purported exemption, since July 2019 Securus has                Deleted: <#>Interception and recording of Attorney-Client
                                                                                                         privileged calls is illegal under Maine law and therefore
                                                                                                         under the federal wiretapping law.¶
recorded over 800 calls between attorneys and their inmate clients at the Androscoggin, Aroostook,       Securus failed to screen out Attorney-Client privileged calls
                                                                                                         from those calls it recorded. ¶
Franklin and Somerset county jails, encompassing over 150 inmates and 30 law firms and/or                Securus intercepted calls protected by the Attorney-Client
                                                                                                         privilege. ¶
                                                                                                         Securus distributed calls protected by the Attorney-Client
attorneys.                                                                                               privilege to jail administrators who are often law enforcers. ¶
                                                                                                         Securus distributed calls protected by the Attorney-Client
                                                                                                         privilege to local District Attorneys and those in District
         26.   Annexed hereto as Exhibits A, B and C are redacted spreadsheets listing the calls         Attorneys’ offices in the State of Maine. ¶
                                                                                                         Securus distributed calls protected by the Attorney-Client
Securus recorded between attorneys and their inmate clients at the Androscoggin, Aroostook and           privilege to the office of the Maine Attorney General,
                                                                                                         including but not limited to Assistant Attorney Generals. ¶
                                                                                                         Since
Franklin county jails, respectively. Plaintiffs have redacted the names of inmates as well as the        Deleted: <#>,
                                                                                                         Deleted: <#>Attorneys
phone numbers of attorneys and attorneys’ offices they have called. An unredacted version of these
                                                                                                         Deleted: <#>inmates

exhibits can be filed under seal at the Court’s discretion.

         27.   Interception and recording of attorney-client privileged calls is illegal under Maine     Deleted: Copies
                                                                                                         Deleted: these recordings have on several occasions been
law and therefore under the federal wiretapping law.                                                     handed over…


         28.   As described above, Securus failed to screen out attorney-client privileged calls

from those calls it recorded.

         29.   Securus intentionally distributed calls, including calls protected by the attorney-

client privilege, to jail administrators who are often law enforcers.

         30.   Securus intentionally distributed calls, including calls protected by the attorney-

client privilege, to local District Attorneys and those in District Attorneys’ offices in the State of   Deleted: /or the Office


Maine.                                                                                                   Deleted: the




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        31.    Securus intentionally distributed calls, including calls protected by the attorney-

client privilege, to the office of the Maine Attorney General, including but not limited to Assistant   Deleted: .


Attorney Generals.

   Securus Records and Transmits Attorney-Client Communications between Plaintiffs
         Ruffner and/or Tebbetts and their client to the Maine Attorney General

        32.    Plaintiff Attorney John Tebbetts and Plaintiff Attorney Robert Ruffner represent

inmate John Doe in an ongoing criminal matter. Inmate John Doe is currently in the Aroostook

county jail.

        33.    Between August 2019 and the present, Plaintiff Tebbetts, Plaintiff Ruffner or

someone from their respective offices had many telephone conversations with inmate John Doe in

which the inmate sought legal advice.

        34.    Such conversations are protected by the attorney-client privilege.                       Deleted: Attorney-Client


        35.    In May 2020, the office of the Maine Attorney General contacted Plaintiff Ruffner,

who is acting as co-counsel of Plaintiff Tebbetts with regard to inmate John Doe, to inform Plaintiff

Ruffner that they received recordings of hundreds of calls from Defendant Securus between inmate

John Doe and either Tebbetts, someone from Tebbetts’ office or Plaintiff Ruffner.

        36.    The representative from the AG’s office had listened to many of the calls, but could

not confirm how many of the calls were protected by the attorney-client privilege or how many of        Deleted: Attorney-Client


the calls they had listened to were protected by the attorney-client privilege.                         Deleted: Attorney-Client


        37.    The representative from the AG’s office contacted Plaintiff Ruffner because he was

concerned that he had access to calls that he should not legally have.

        38.    The AG’s office provided Plaintiffs Ruffner and Tebbetts with copies of the

recorded calls they received from Defendant Securus and asked them to screen out privileged calls.




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       39.     The AG’s office further informed Tebbetts that they became aware they had been

provided by Securus recordings of calls between inmate John Doe and either Plaintiffs Ruffner,

Plaintiff Tebbetts’ or someone from either Plaintiff Ruffner or Tebbetts’ office because a Detective

listened to the recordings and recognized Tebbetts’ voice.

       40.     Plaintiff Tebbetts and personnel in Tebbetts’ office have been diligently reviewing

the recorded calls provided by the AG’s office.

       41.     To date Plaintiff Tebbetts has confirmed that several of the calls provided by

Securus to the Maine Attorney General’s office are protected by the attorney-client privilege.          Deleted: Attorney-Client


       42.     In August 2020, Plaintiff Tebbetts was provided with a list of calls that were

recorded by Defendant Securus at the Aroostook county jail which includes a list of individuals

who have listened to the calls or downloaded them for later listening. A redacted list of these calls

is annexed hereto as Exhibit D. As with Exhibits A-C, Plaintiffs can file the un-redacted version

of this spreadsheet at the Court’s direction.

Securus Records Attorney-Client Privileged Communications between Plaintiff Perry and                   Deleted: Securus Records and Transmits Attorney-Client
                                     his Attorney.                                                      Privileged Communications between Plaintiff Pratt and
                                                                                                        his client to the Maine Attorney General¶
                                                                                                        Plaintiff Attorney Jeremy Pratt represents an inmate in an
       43.     Plaintiff Perry was an inmate in the Aroostook County Jail in 2018.                      ongoing criminal proceeding. ¶
                                                                                                        Plaintiff Pratt’s client is currently incarcerated at the
                                                                                                        Somerset county jail. ¶
       44.     Plaintiff Perry was represented by Plaintiff Tebbetts while he was incarcerated in       Plaintiff Pratt was contacted by an Assistant Attorney
                                                                                                        General for the State of Maine in April 2020 who informed
Aroostook county jail.                                                                                  Plaintiff Pratt that in reviewing recordings of jail calls he
                                                                                                        received from Securus, he recognized Plaintiff Pratt’s voice
                                                                                                        on a call with his client. ¶
       45.     Securus recorded several calls during which Plaintiff Perry sought legal advice          This call was protected by the Attorney-Client privilege as in
                                                                                                        it Plaintiff Pratt’s client sought legal advice. ¶
                                                                                                        Plaintiff Pratt was given a copy of the recorded call by the
from Plaintiff Tebbetts.                                                                                Assistant Attorney General, but was not informed if other
                                                                                                        calls with his client had been recorded or reviewed. ¶
       46.     These calls were protected by the attorney-client privilege and should not have been     Deleted: Attorney-Client

recorded.

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  Securus Records Attorney-Client Privileged Communications between Plaintiff Steven
                              Belleau and his Attorney.

       47.      Plaintiff Belleau was an inmate in the Aroostook County Jail between May 2019

and January 2020.

       48.      Plaintiff Belleau was represented by Plaintiff Tebbetts in his criminal case.

       49.      During his incarceration at the Aroostook County Jail, Plaintiff Belleau made

multiple calls to Plaintiff Tebbetts and/or Plaintiff Tebbetts’ office in which he sought and received

legal advice.

       50.      The content of these calls was protected by the attorney-client privilege.               Deleted: Attorney-Client


       51.      Securus recorded these calls that were protected by the attorney-client privilege.       Deleted: Attorney-Client


       52.      Plaintiff Belleau was never given any handbook, direction, or instructions of any

kind, whether written or otherwise, that told him how to block the recording of his calls with his

attorney.

                         RULE 23 CLASS ACTION ALLEGATIONS

       53.      The named Plaintiffs assert their claims as a Fed. R. Civ. P. 23 class action on their

own behalf and on behalf of a class for which Plaintiffs seeks certification.




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       54.      Pending any modifications necessitated by discovery, the named Plaintiffs

preliminarily define the following classes:

         ATTORNEY CLASS            ALL ATTORNEYS, EXCLUDING ATTORNEYS FOR THE                           Formatted Table
                                   PLAINTIFF,        WHOSE         CONFIDENTIAL
                                   COMMUNICATIONS WITH THEIR INMATE CLIENTS IN
                                   MAINE    COUNTY    JAILS  WERE    IMPROPERLY
                                   INTERCEPTED, USED, RECORDED, OR DISCLOSED BY
                                   SECURUS.

         CLIENT CLASS             ALL CURRENT AND FORMER INMATES OF MAINE
                                  COUNTY      JAILS     WHOSE   CONFIDENITAL
                                  COMMUNICATIONS WITH THEIR ATTORNEYS WERE
                                  IMPROPERLY INTERCEPTED, USED, RECORDED OR
                                  DISCLOSED BY SECURUS.


       55.      Upon information and belief, the Defendant Securus illegally recorded calls

between class members in the Attorney and Client Classes in substantially the same way.

       56.      The putative classes are so numerous that joinder of all potential class members is

impracticable. Plaintiffs do not know the exact size of each of the classes since that information is

within the control of Defendant Securus, but upon information and belief the number is many

hundreds.

       57.      There are questions of law or fact common to the classes which predominate over

any individual issues that might exist. Common questions of law and fact include:

             a. whether Defendant Securus has been intentionally intercepting the attorney-client

                communications of the Attorney and Client Classes;

             b. whether Defendant Securus has been disclosing the attorney-client communications

                of the Attorney and Client Classes

             c. whether Defendant Securus has been using the attorney-client communications of

                the Attorney and Client Classes;



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             d. whether Defendant Securus has been recording the attorney-client communications

                of the Attorney and Client Classes;

             e. whether Defendant Securus’ policies and practices described herein were unlawful

                under Maine and Federal wiretap laws;

             f. whether Defendant Securus’ actions were willful and/or intentional;

             g. the amount of damages appropriate for the Attorney and Client Classes; and

             h. whether injunctive relief is warranted to prevent Defendant Securus from causing

                future harm.

       58.      The class claims asserted by the Plaintiffs are typical of the claims of all of the

potential class members. This is an uncomplicated case where the facts are clear, but Defendant

Securus may claim the conduct was legal. The class claims are typical of those pursued by victims

of these violations. A class action is superior to other available methods for the fair and efficient

adjudication of this controversy because numerous identical lawsuits alleging similar or identical

causes of action would not serve the interests of judicial economy.

       59.      Plaintiffs, as representatives of their respective putative classes, will fairly and

adequately protect the interests of their respective classes because:

             a. Named Plaintiffs Ruffner and Tebbetts, and named Plaintiffs Perry and Belleau               Deleted: Pratt,


                have knowledge regarding the facts and circumstances that give rise to their claims

                and the claims of the putative Attorney and Client Classes, respectively;

             b. Named Plaintiffs are strongly interested and highly motivated to assert and protect

                their own rights and the rights of the putative classes in a vigorous fashion; and

             c. The named Plaintiffs are represented by counsel experienced in class action.




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        60.     The prosecution of separate actions by the individual potential class members

would create a risk of inconsistent or varying adjudications with respect to individual potential

class members that would establish incompatible standards of conduct for Defendant.

        61.     Each class member’s claim is relatively small. Thus, the interest of potential class

members in individually controlling the prosecution or defense of separate actions is slight. In

addition, public policy supports the broad remedial purposes of class actions in general and the

pertinent state laws are appropriate vehicles to vindicate the rights of those employees with small

claims as part of the larger class.

        62.     Plaintiffs are unaware of any members of the putative classes who are interested in

presenting their claims in a separate action.

        63.     Plaintiffs are unaware of any pending litigation commenced by members of any of

the classes concerning the instant controversy.

        64.     It is desirable to concentrate this litigation in one forum.

        65.     This class action will not be difficult to manage due to the uniformity of claims

among the class members and the susceptibility of the case to both class litigation and the use of

representative testimony and representative documentary evidence.

        66.     The contours of the classes will be easily defined by reference to Defendant’s

records matched against attorney phone numbers.




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                                       CLAIMS FOR RELIEF

                                   COUNT I:
              VIOLATION OF FEDERAL WIRETAP ACT, 18 U.S.C. § 2510 et seq.
                    ON BEHALF OF THE NAMED PLAINTIFFS AND
                       THE ATTORNEY AND CLIENT CLASSES

        67.       The Plaintiffs incorporate all previous paragraphs.

        68.       Plaintiffs bring this claim on their own behalf and on behalf of the Attorney and

Client Classes.

        69.       The named Plaintiffs and others similarly situated were inmates and attorneys

whose attorney-client calls were intercepted and recorded by the Defendant.

        70.       The Defendant used a device to intentionally intercept the class members’

communications, including attorney-client communications.

        71.       That device was affixed to the wires of the calling system used in wire

communication.

        72.       Subsequently the Defendant intentionally disclosed the intercepted conversations

to third parties.

        73.       Under 18 U.S.C. § 2520, named Plaintiffs and the putative classes are entitled to

actual and statutory damages, punitive damages, costs and attorneys fees.

        74.       The Plaintiffs further demand preliminary and declaratory equitable relief requiring

Securus to cease recording inmate calls unless and until it can screen out attorney-client privilege

calls. Plaintiffs demand that a copy of all calls be produced to class counsel to be held in trust and

turned over to the affected class members upon future request, and then that the Defendant be

ordered to destroy all copies of illegally recorded calls.




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                                COUNT II:
 VIOLATIONS OF 15 M.R.S. § 710 ET SEQ, INTERCEPTION OF WIRE AND ORAL
                            COMMUNICATIONS
              ON BEHALF OF THE NAMED PLAINTIFFS AND
                 THE ATTORNEY AND CLIENT CLASSES

       75.      Plaintiffs incorporate all previous paragraphs.

       76.      The Defendant knowingly and intentionally intercepted oral and wire attorney-

client communications interfering with the attorney-client privilege.

       77.      The Defendant knowingly and intentionally disclosed oral and wire attorney-client

communications interfering with the attorney-client privilege by providing them to the jails.

       78.      Under 15 M.R.S. § 711 the Plaintiffs and class are entitled to actual damages,

liquidated damages, and attorneys’ fees and costs.

       79.      The Plaintiffs further demand preliminary and declaratory equitable relief requiring

Securus to cease recording inmate calls unless and until it can screen out attorney-client privilege

calls. Plaintiffs demand that a copy of all calls be produced to class counsel to be held in trust and

turned over to the affected class members upon future request, and then that the Defendant be

ordered to destroy all copies of illegally recorded calls.

                                 DEMAND FOR JURY TRIAL

       Plaintiffs demands a jury for all issues so triable.

                                     PRAYER FOR RELIEF

       Plaintiffs respectfully requests that this Court enter an order or orders:

       a.       Awarding Named Plaintiffs and the Attorney and Client Classes damages, and

liquidated damages, punitive damages, attorneys fees, and costs under 18 U.S.C. § 2520 and 15

M.R.S. § 711.




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          b.   Awarding Named Plaintiffs and the Attorney and Client Classes injunctive relief

preventing the Defendant from intercepting, recording, and distributing inmate calls unless they

know they are not between inmates and their attorneys. Furthermore, Plaintiffs demand that a copy

of all calls be produced to class counsel to be held in trust and provided to affected class members

upon request and then that the recordings be destroyed.

          c.   Awarding Named Plaintiffs and the Attorney and Client Classes pre- and post-

judgment interest as permitted by law; Granting such other relief as this Court deems just and

proper.                                                                                                Deleted: November 5, 2020
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Dated: May 10, 2021
                                                                                                                           Moved down [2]: Benjamin N. Donahue¶
                                                                                                                           Hallett, Whipple & Weyrens, P.A.¶
                                                             Respectfully Submitted,                                       Six City Center¶
                                                                                                                           P.O. Box 7508¶
                                                                                                                           Portland, Maine 04112-7508¶
                                                             /s/Andrew Schmidt                                             Tel - 207.775.4255¶
                                                             Andrew Schmidt, Esq.                                          Fax - 207.775.4229¶
                                                                                                                           www.hww.law¶
                                                                                                                           bdonahue@hww.law¶
                                                             /s/ Peter Mancuso                                             ¶
                                                             Peter Mancuso, Esq
                                                                                                                           Deleted: ¶
                                                             Andrew Schmidt Law, PLLC
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                                                             Portland, Maine 04101                     Formatted: Indent: Left: 4"
                                                             (207) 619-0884                                                Deleted: ¶
                                                             Andy@maineworkerjustice.com               Moved (insertion) [2]
                                                             Peter@maineworkerjustice.com              Formatted: No underline
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                                                             Benjamin N. Donahue                       ¶
                                                             Hallett, Whipple & Weyrens, P.A.          CERTIFICATE OF SERVICE¶
                                                                                                       ! I hereby certify that on November 6, 2020, I electronically
                                                             Six City Center                           filed the foregoing with the Clerk of the Court using the ECF
                                                             P.O. Box 7508                             system, which will send electronic notification of such filing
                                                             Portland, Maine 04112-7508                to all registered counsel of record.¶
                                                                                                       ¶
                                                             Tel - 207.775.4255                        Dated: November 6, 2020¶
                                                             Fax - 207.775.4229                           /s/Peter Mancuso! ¶
                                                             www.hww.law                               Peter Mancuso¶
                                                                                                       Andrew Schmidt Law, PLLC¶
                                                             bdonahue@hww.law                          97 India St.¶
                                                                                                       Portland, Maine 04101! ¶
                                                             Attorneys for the Plaintiffs              207-619-0884¶
                                                                                                       Peter@MaineWorkerJustice.com¶
                                                                                                       ¶
                                                                                                       Attorneys for the Plaintiff¶

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